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                        Exhibit 2
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JD ID      Agency   Project ID District or JD Basis   PDF Link Finalized Date     Closure MeWaters Na Resource TResource TWater of thCowardin CCowardin CCowardin DHGM         HGM Desc Longitude      Latitude     State    County     HUC8       Authority Local Wate
 5243835   Corps    SPL‐2018‐0Los Angele NWPR         https://per     3/29/2021   Approved JUnnamed EB3EPHEME(b)(3) EpheNo           R6        Riverine A wetland, Riverine Riverine is ‐111.31         35.88095    Arizona Coconino    15020016   None
 5243520   Corps    SPA‐2020‐0Albuquerq NWPR          https://per     3/19/2021   Approved JDrainage‐1B3EPHEME(b)(3) EpheNo          R6        Riverine A wetland, spring, stream, river, p ‐108.769    35.08632    New MexicMcKinley   15020004   None
 5243520   Corps    SPA‐2020‐0Albuquerq NWPR          https://per     3/19/2021   Approved JDrainage‐7B3EPHEME(b)(3) EpheNo          R6        Riverine A wetland, spring, stream, river, p ‐108.772    35.08338    New MexicMcKinley   15020004   None
 5243520   Corps    SPA‐2020‐0Albuquerq NWPR          https://per     3/19/2021   Approved JDrainage‐4B3EPHEME(b)(3) EpheNo          R6        Riverine A wetland, spring, stream, river, p ‐108.757    35.09498    New MexicMcKinley   15020004   None
 5243520   Corps    SPA‐2020‐0Albuquerq NWPR          https://per     3/19/2021   Approved JDrainage‐2B3EPHEME(b)(3) EpheNo          R6        Riverine A wetland, spring, stream, river, p ‐108.763    35.09085    New MexicMcKinley   15020004   None
 5243520   Corps    SPA‐2020‐0Albuquerq NWPR          https://per     3/19/2021   Approved JDrainage‐6B3EPHEME(b)(3) EpheNo          R6        Riverine A wetland, spring, stream, river, p ‐108.755    35.09576    New MexicMcKinley   15020004   None
 5243520   Corps    SPA‐2020‐0Albuquerq NWPR          https://per     3/19/2021   Approved JDrainage‐3B3EPHEME(b)(3) EpheNo          R6        Riverine A wetland, spring, stream, river, p ‐108.76     35.09325    New MexicMcKinley   15020004   None
 5243520   Corps    SPA‐2020‐0Albuquerq NWPR          https://per     3/19/2021   Approved JDrainage‐5B3EPHEME(b)(3) EpheNo          R6        Riverine A wetland, spring, stream, river, p ‐108.755    35.09555    New MexicMcKinley   15020004   None
 5247062   Corps    SPL‐2020‐0Los Angele NWPR         https://per      3/3/2021   Approved JThree Mile B1LPINOSC(b)(1) Lake No       PUB       Palustrine UnconsolidDepressionDepression ‐112.194       35.29616    Arizona Coconino    15010004   None      Three Mile
 5249742   Corps    SPA‐2020‐0Albuquerq NWPR          https://per      3/2/2021   Approved J2020‐169 DB3EPHEME(b)(3) EpheNo          R6        Riverine A wetland, spring, stream, river, p ‐107.297    35.16399    New MexicCibola     13020207   None
 5249742   Corps    SPA‐2020‐0Albuquerq NWPR          https://per      3/2/2021   Approved J2020‐169 MB9DEPPIT (b)(9) WateNo         L2OW      Lacustrine Open Water/Unknown Bottom, L ‐107.306         35.16258    New MexicCibola     13020207   None
 5249742   Corps    SPA‐2020‐0Albuquerq NWPR          https://per      3/2/2021   Approved J2020‐169 AB3EPHEME(b)(3) EpheNo          R6        Riverine A wetland, spring, stream, river, p ‐107.285    35.15434    New MexicCibola     13020207   None
 5249742   Corps    SPA‐2020‐0Albuquerq NWPR          https://per      3/2/2021   Approved J2020‐169 EB3EPHEME(b)(3) EpheNo          R6        Riverine A wetland, spring, stream, river, p ‐107.289    35.16027    New MexicCibola     13020207   None
 5249742   Corps    SPA‐2020‐0Albuquerq NWPR          https://per      3/2/2021   Approved J2020‐169 MB3EPHEME(b)(3) EpheNo          R6        Riverine A wetland, spring, stream, river, p ‐107.288    35.15701    New MexicCibola     13020207   None
 5249742   Corps    SPA‐2020‐0Albuquerq NWPR          https://per      3/2/2021   Approved J2020‐169 DB3EPHEME(b)(3) EpheNo          R6        Riverine A wetland, spring, stream, river, p ‐107.299    35.16503    New MexicCibola     13020207   None
 5249742   Corps    SPA‐2020‐0Albuquerq NWPR          https://per      3/2/2021   Approved J2020‐169 DB3EPHEME(b)(3) EpheNo          R6        Riverine A wetland, spring, stream, river, p ‐107.297    35.16382    New MexicCibola     13020207   None
 5249742   Corps    SPA‐2020‐0Albuquerq NWPR          https://per      3/2/2021   Approved J2020‐169 DB3EPHEME(b)(3) EpheNo          R6        Riverine A wetland, spring, stream, river, p ‐107.296    35.16249    New MexicCibola     13020207   None
 5249742   Corps    SPA‐2020‐0Albuquerq NWPR          https://per      3/2/2021   Approved J2020‐169 DB3EPHEME(b)(3) EpheNo          R6        Riverine A wetland, spring, stream, river, p ‐107.298    35.16046    New MexicCibola     13020207   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JKK         B4SHEETFL(b)(4) DiffuNo                                                              ‐108.434    36.81364    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JK          B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.367    36.84187    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JC          B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.289    36.84776    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JB          B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.295     36.8467    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JV          B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.355    36.84265    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JW          B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.4      36.81647    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JR          B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.34     36.84127    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JEE         B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.374    36.78317    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JE          B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.302    36.84972    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JShumway AB3EPHEME(b)(3) EpheNo           R6        Riverine A wetland, spring, stream, river, p ‐108.381    36.84266    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JT          B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.356    36.82961    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JY          B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.374    36.80396    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JNN         B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.326       36.829   New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JA          B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.289    36.84467    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JQ          B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.306    36.84079    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JLL         B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.372     36.8128    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JDD         B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.375    36.78309    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JX          B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.366    36.80828    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JLower Shu B3EPHEME(b)(3) EpheNo          R6        Riverine A wetland, spring, stream, river, p ‐108.402    36.80426    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JP          B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.309    36.84143    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JNarrows WB3EPHEME(b)(3) EpheNo           R6        Riverine A wetland, spring, stream, river, p ‐108.365    36.83613    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JN          B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.367    36.82388    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JII         B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.448    36.80643    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JCC         B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.375    36.78539    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JM          B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.377    36.82862    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JS          B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.347    36.83475    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JI          B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.356    36.84282    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JStevens Ar B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.371    36.76627    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JZ          B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.374    36.80025    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JJJ         B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.443    36.81448    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JBB         B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.376    36.79046    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JO          B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.312    36.84055    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JMM         B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.347    36.83471    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JAA         B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.375    36.79637    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JUpper Shu B3EPHEME(b)(3) EpheNo          R6        Riverine A wetland, spring, stream, river, p ‐108.376     36.8249    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JU          B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.33     36.82912    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JF          B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.337    36.84586    New MexicSan Juan   14080105   None
 5247663   Corps    SPA‐2021‐0Albuquerq NWPR          https://per     2/19/2021   Approved JHH         B3EPHEME(b)(3) EpheNo         R6        Riverine A wetland, spring, stream, river, p ‐108.446    36.81111    New MexicSan Juan   14080105   None
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5247663   Corps   SPA‐2021‐0Albuquerq NWPR    https://per    2/19/2021   Approved JGG         B3EPHEME(b)(3) EpheNo     R6   Riverine   A wetland, spring, stream, river, p   ‐108.451   36.80264   New MexicSan Juan     14080105   None
5246977   Corps   SPA‐2021‐0Albuquerq NWPR    https://per    2/18/2021   Approved JSPA‐2021‐0B3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, Riverine Riverine is       ‐106.733   35.20715   New MexicBernalillo   13020203   None   Rio Grande
5246968   Corps   SPA‐2021‐0Albuquerq NWPR    https://per    1/27/2021   Approved JUplands                         No   U    Uplands    Upland ‐ Not a wetland or deepw       ‐106.537   35.35222   New MexicSandoval     13020203   None
5246860   Corps   SPA‐2016‐0Albuquerq NWPR    https://per    1/22/2021   Approved J2016‐139 WB3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, spring, stream, river, p   ‐106.806   35.53006   New MexicSandoval     13020202   None
5246860   Corps   SPA‐2016‐0Albuquerq NWPR    https://per    1/22/2021   Approved J2016‐139 WB3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, spring, stream, river, p   ‐106.805   35.53209   New MexicSandoval     13020202   None
5246860   Corps   SPA‐2016‐0Albuquerq NWPR    https://per    1/22/2021   Approved J2016‐139 WB3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, spring, stream, river, p   ‐106.812   35.53042   New MexicSandoval     13020202   None
5246860   Corps   SPA‐2016‐0Albuquerq NWPR    https://per    1/22/2021   Approved J2016‐139 WB3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, spring, stream, river, p    ‐106.81   35.53157   New MexicSandoval     13020202   None
5246860   Corps   SPA‐2016‐0Albuquerq NWPR    https://per    1/22/2021   Approved J2016‐139 WB3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, spring, stream, river, p   ‐106.808   35.53188   New MexicSandoval     13020202   None
5246729   Corps   SPA‐2020‐0Albuquerq NWPR    https://per    1/20/2021   Approved J2020‐261 SB3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, spring, stream, river, p   ‐106.742   34.83206   New MexicValencia     13020203   None
5246729   Corps   SPA‐2020‐0Albuquerq NWPR    https://per    1/20/2021   Approved J2020‐261 NB3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, spring, stream, river, p   ‐106.739   34.83534   New MexicValencia     13020203   None
5236172   Corps   SPA‐2020‐0Albuquerq NWPR    https://per    12/8/2020   Approved J2020‐214 VB3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, spring, stream, river, p   ‐106.622   35.32288   New MexicSandoval     13020203   None
5243894   Corps   SPA‐2020‐0Albuquerq NWPR    https://per    12/8/2020   Approved J2020‐211 BB3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, spring, stream, river, p   ‐106.697   35.22747   New MexicSandoval     13020203   None
5243715   Corps   SPA‐2020‐0Albuquerq NWPR    https://per    12/7/2020   Approved J2020‐284 AB3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, spring, stream, river, p   ‐106.505   34.45706   New MexicValencia     13020203   None
5243528   Corps   SPA‐2020‐0Albuquerq NWPR    https://per    12/2/2020   Approved J2020‐213 MB3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, spring, stream, river, p   ‐106.674   35.26091   New MexicSandoval     13020203   None
5243527   Corps   SPA‐2020‐0Albuquerq NWPR    https://per    12/2/2020   Approved J2020‐210 LB3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, spring, stream, river, p   ‐106.601   35.28395   New MexicSandoval     13020203   None
5243479   Corps   SPA‐2020‐0Albuquerq NWPR    https://per    12/2/2020   Approved J2020‐212 VB3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, spring, stream, river, p    ‐106.67   35.34625   New MexicSandoval     13020203   None
5243479   Corps   SPA‐2020‐0Albuquerq NWPR    https://per    12/2/2020   Approved J2020‐212 VB3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, spring, stream, river, p    ‐106.67   35.34601   New MexicSandoval     13020203   None
5242629   Corps   SPA‐2020‐0Albuquerq NWPR    https://per   11/18/2020   Approved J2020‐209 MB3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, spring, stream, river, p   ‐106.654    35.2899   New MexicSandoval     13020203   None
5242165   Corps   SPA‐2020‐0Albuquerq NWPR    https://per   11/13/2020   Approved J2020‐207 BB3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, spring, stream, river, p   ‐106.716   35.23076   New MexicSandoval     13020203   None
5242165   Corps   SPA‐2020‐0Albuquerq NWPR    https://per   11/13/2020   Approved J202‐207 Bl B3EPHEME(b)(3) EpheNo     R6   Riverine   A wetland, spring, stream, river, p   ‐106.716   35.22989   New MexicSandoval     13020203   None
5241019   Corps   SPA‐2020‐0Albuquerq NWPR    https://per    11/4/2020   Approved JUnnamed tB3EPHEME(b)(3) EpheNo       R6   Riverine   A wetland, spring, stream, river, p   ‐108.086   36.73876   New MexicSan Juan     14080101   None
5241335   Corps   SPA‐2020‐0Albuquerq NWPR    https://per    11/2/2020   Approved J2020‐206 BB3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, spring, stream, river, p   ‐106.704   35.24112   New MexicSandoval     13020203   None
5239500   Corps   SPL‐2020‐0Los Angele NWPR   https://per   10/28/2020   Approved JCanyon DiaB3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, spring, stream, river, p   ‐110.991     35.295   Arizona Coconino      15020008   None
5240585   Corps   SPA‐2020‐0Albuquerq NWPR    https://per   10/26/2020   Approved J2020‐205 BB3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, spring, stream, river, p   ‐106.706   35.24377   New MexicSandoval     13020203   None   Black Arroy
5239785   Corps   SPA‐2020‐0Albuquerq NWPR    https://per   10/15/2020   Approved J2020‐204 VB3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, spring, stream, river, p   ‐106.573   35.31461   New MexicSandoval     13020203   None
5239642   Corps   SPA‐2017‐0Albuquerq NWPR    https://per   10/14/2020   Approved JSPA‐2017‐0B3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, Riverine Riverine is       ‐106.627   35.01189   New MexicBernalillo   13020203   None
5239642   Corps   SPA‐2017‐0Albuquerq NWPR    https://per   10/14/2020   Approved JSPA‐2017‐0B3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, Riverine Riverine is       ‐106.631   35.01439   New MexicBernalillo   13020203   None
5239642   Corps   SPA‐2017‐0Albuquerq NWPR    https://per   10/14/2020   Approved JSPA‐2017‐0B3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, Riverine Riverine is       ‐106.632   35.01408   New MexicBernalillo   13020203   None
5239642   Corps   SPA‐2017‐0Albuquerq NWPR    https://per   10/14/2020   Approved JSPA‐2017‐0B3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, Riverine Riverine is       ‐106.632    35.0139   New MexicBernalillo   13020203   None
5239642   Corps   SPA‐2017‐0Albuquerq NWPR    https://per   10/14/2020   Approved JSPA‐2017‐0B3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, Riverine Riverine is        ‐106.63   35.01213   New MexicBernalillo   13020203   None
5239642   Corps   SPA‐2017‐0Albuquerq NWPR    https://per   10/14/2020   Approved JSPA‐2017‐0B3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, Riverine Riverine is       ‐106.631   35.00763   New MexicBernalillo   13020203   None   Tijeras Arro
5238583   Corps   SPA‐2020‐0Albuquerq NWPR    https://per    9/30/2020   Approved J202‐203 CoB3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, spring, stream, river, p   ‐106.564   35.32163   New MexicSandoval     13020203   None
5235330   Corps   SPL‐2020‐0Los Angele NWPR   https://per    9/23/2020   Approved J       16 B3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, Riverine Riverine is       ‐109.501   36.48748   Arizona Apache        14080204   None
5235330   Corps   SPL‐2020‐0Los Angele NWPR   https://per    9/23/2020   Approved J       15 B3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, Riverine Riverine is       ‐109.502   36.48664   Arizona Apache        14080204   None
5235330   Corps   SPL‐2020‐0Los Angele NWPR   https://per    9/23/2020   Approved J       14 B3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, Riverine Riverine is       ‐109.504   36.48496   Arizona Apache        14080204   None
5235330   Corps   SPL‐2020‐0Los Angele NWPR   https://per    9/23/2020   Approved J       13 B3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, Riverine Riverine is       ‐109.506   36.48355   Arizona Apache        14080204   None
5235330   Corps   SPL‐2020‐0Los Angele NWPR   https://per    9/23/2020   Approved J       12 B3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, Riverine Riverine is       ‐109.508   36.48165   Arizona Apache        14080204   None
5235330   Corps   SPL‐2020‐0Los Angele NWPR   https://per    9/23/2020   Approved J       11 B3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, Riverine Riverine is        ‐109.51   36.48065   Arizona Apache        14080204   None
5235330   Corps   SPL‐2020‐0Los Angele NWPR   https://per    9/23/2020   Approved J       10 B3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, Riverine Riverine is       ‐109.569   36.46905   Arizona Apache        14080204   None
5235330   Corps   SPL‐2020‐0Los Angele NWPR   https://per    9/23/2020   Approved J        9 B3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, Riverine Riverine is       ‐109.571   36.46857   Arizona Apache        14080204   None
5235330   Corps   SPL‐2020‐0Los Angele NWPR   https://per    9/23/2020   Approved J        4 B8LPIART (b)(8) Artif No   R6   Riverine   A wetland, Riverine Riverine is       ‐109.593   36.46369   Arizona Apache        14080204   None
5235330   Corps   SPL‐2020‐0Los Angele NWPR   https://per    9/23/2020   Approved J        3 B8LPIART (b)(8) Artif No   R6   Riverine   A wetland, Riverine Riverine is       ‐109.593   36.46417   Arizona Apache        14080204   None
5235330   Corps   SPL‐2020‐0Los Angele NWPR   https://per    9/23/2020   Approved J        2 B8LPIART (b)(8) Artif No   R6   Riverine   A wetland, Riverine Riverine is       ‐109.594   36.46385   Arizona Apache        14080204   None
5235330   Corps   SPL‐2020‐0Los Angele NWPR   https://per    9/23/2020   Approved J       30 B3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, Riverine Riverine is       ‐109.577   36.61121   Arizona Apache        14080204   None
5235330   Corps   SPL‐2020‐0Los Angele NWPR   https://per    9/23/2020   Approved J       29 B3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, Riverine Riverine is       ‐109.576   36.61011   Arizona Apache        14080204   None
5235330   Corps   SPL‐2020‐0Los Angele NWPR   https://per    9/23/2020   Approved J       28 B3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, Riverine Riverine is       ‐109.575     36.608   Arizona Apache        14080204   None
5235330   Corps   SPL‐2020‐0Los Angele NWPR   https://per    9/23/2020   Approved J       27 B3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, Riverine Riverine is       ‐109.524   36.54156   Arizona Apache        14080204   None
5235330   Corps   SPL‐2020‐0Los Angele NWPR   https://per    9/23/2020   Approved J       26 B3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, Riverine Riverine is       ‐109.525   36.54152   Arizona Apache        14080204   None
5235330   Corps   SPL‐2020‐0Los Angele NWPR   https://per    9/23/2020   Approved J       25 B3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, Riverine Riverine is       ‐109.522   36.54022   Arizona Apache        14080204   None
5235330   Corps   SPL‐2020‐0Los Angele NWPR   https://per    9/23/2020   Approved J       24 B3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, Riverine Riverine is       ‐109.519    36.5381   Arizona Apache        14080204   None
5235330   Corps   SPL‐2020‐0Los Angele NWPR   https://per    9/23/2020   Approved J        8 B3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, Riverine Riverine is       ‐109.578   36.46629   Arizona Apache        14080204   None
5235330   Corps   SPL‐2020‐0Los Angele NWPR   https://per    9/23/2020   Approved J        7 B3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, Riverine Riverine is       ‐109.582   36.46531   Arizona Apache        14080204   None
5235330   Corps   SPL‐2020‐0Los Angele NWPR   https://per    9/23/2020   Approved J        6 B3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, Riverine Riverine is       ‐109.582   36.46549   Arizona Apache        14080204   None
5235330   Corps   SPL‐2020‐0Los Angele NWPR   https://per    9/23/2020   Approved J        1 B3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, Riverine Riverine is       ‐109.596   36.46447   Arizona Apache        14080204   None
5235330   Corps   SPL‐2020‐0Los Angele NWPR   https://per    9/23/2020   Approved J        5 B3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, Riverine Riverine is       ‐109.586   36.46516   Arizona Apache        14080204   None
5235330   Corps   SPL‐2020‐0Los Angele NWPR   https://per    9/23/2020   Approved J       23 B3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, Riverine Riverine is       ‐109.517   36.53678   Arizona Apache        14080204   None
5235330   Corps   SPL‐2020‐0Los Angele NWPR   https://per    9/23/2020   Approved J       22 B3EPHEME(b)(3) EpheNo      R6   Riverine   A wetland, Riverine Riverine is       ‐109.514   36.53512   Arizona Apache        14080204   None
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5235330   Corps   SPL‐2020‐0Los Angele NWPR      https://per    9/23/2020   Approved J         21 B3EPHEME(b)(3) EpheNo     R6   Riverine   A wetland, Riverine Riverine is       ‐109.504   36.52875   Arizona Apache        14080204   None
5235330   Corps   SPL‐2020‐0Los Angele NWPR      https://per    9/23/2020   Approved J         20 B3EPHEME(b)(3) EpheNo     R6   Riverine   A wetland, Riverine Riverine is       ‐109.494   36.52211   Arizona Apache        14080204   None
5235330   Corps   SPL‐2020‐0Los Angele NWPR      https://per    9/23/2020   Approved J         19 B3EPHEME(b)(3) EpheNo     R6   Riverine   A wetland, Riverine Riverine is       ‐109.484   36.50054   Arizona Apache        14080204   None
5235330   Corps   SPL‐2020‐0Los Angele NWPR      https://per    9/23/2020   Approved J         18 B3EPHEME(b)(3) EpheNo     R6   Riverine   A wetland, Riverine Riverine is       ‐109.492   36.49429   Arizona Apache        14080204   None
5235330   Corps   SPL‐2020‐0Los Angele NWPR      https://per    9/23/2020   Approved J         17 B3EPHEME(b)(3) EpheNo     R6   Riverine   A wetland, Riverine Riverine is       ‐109.494   36.49265   Arizona Apache        14080204   None
5237917   Corps   SPL‐2020‐0Los Angele NWPR      https://per    9/23/2020   Approved JTeas Toh WB3EPHEME(b)(3) EpheNo       R6   Riverine   A wetland, spring, stream, river, p   ‐110.436   35.50298   Arizona Navajo        15020014   None       Teas Toh W
5231985   Corps   SPA‐2020‐0Albuquerq NWPR       https://per    9/21/2020   Approved J2020‐163 SB3EPHEME(b)(3) EpheNo       R6   Riverine   A wetland, spring, stream, river, p   ‐106.721   35.14519   New MexicBernalillo   13020203   None
5234171   Corps   SPA‐2020‐0Albuquerq NWPR       https://per    8/26/2020   Approved J202‐201 MB3EPHEME(b)(3) EpheNo        R6   Riverine   A wetland, spring, stream, river, p   ‐106.633   35.25687   New MexicSandoval     13020203   None
5234933   Corps   SPL‐2020‐0Los Angele NWPR      https://per    8/19/2020   Approved JWash 1      B3EPHEME(b)(3) EpheNo     R6   Riverine   A wetland, spring, stream, river, p     ‐111.4   35.93692   Arizona Coconino      15020018   None
5232316   Corps   SPA‐2020‐0Albuquerq NWPR       https://per     8/4/2020   Approved JEscavada WB3EPHEME(b)(3) EpheNo       R6   Riverine   A wetland, spring, stream, river, p    ‐107.68   36.12946   New MexicSan Juan     14080106   None
5233178   Corps   SPA‐2020‐0Albuquerq NWPR       https://per    7/31/2020   Approved JUnnamed dB3EPHEME(b)(3) EpheNo        R6   Riverine   A wetland, spring, stream, river, p   ‐107.753   36.67854   New MexicSan Juan     14080103   None
5232307   Corps   SPA‐2020‐0Albuquerq NWPR       https://per    7/21/2020   Approved JDR 4        B3EPHEME(b)(3) EpheNo     R6   Riverine   A wetland, spring, stream, river, p   ‐107.772   36.25482   New MexicSan Juan     14080106   None
5232307   Corps   SPA‐2020‐0Albuquerq NWPR       https://per    7/21/2020   Approved JDR 3        B3EPHEME(b)(3) EpheNo     R6   Riverine   A wetland, spring, stream, river, p   ‐107.771    36.2547   New MexicSan Juan     14080106   None
5232307   Corps   SPA‐2020‐0Albuquerq NWPR       https://per    7/21/2020   Approved JDR 1        B3EPHEME(b)(3) EpheNo     R6   Riverine   A wetland, spring, stream, river, p   ‐107.769   36.25548   New MexicSan Juan     14080106   None
5232307   Corps   SPA‐2020‐0Albuquerq NWPR       https://per    7/21/2020   Approved JDR 2        B3EPHEME(b)(3) EpheNo     R6   Riverine   A wetland, spring, stream, river, p    ‐107.77   36.25496   New MexicSan Juan     14080106   None
5232301   Corps   SPA‐2020‐0Albuquerq NWPR       https://per    7/21/2020   Approved JDR 9        B3EPHEME(b)(3) EpheNo     R6   Riverine   A wetland, spring, stream, river, p   ‐107.786   36.27487   New MexicSan Juan     14080106   None
5232301   Corps   SPA‐2020‐0Albuquerq NWPR       https://per    7/21/2020   Approved JDR 10       B3EPHEME(b)(3) EpheNo     R6   Riverine   A wetland, spring, stream, river, p   ‐107.786    36.2742   New MexicSan Juan     14080106   None
5232287   Corps   SPA‐2020‐0Albuquerq NWPR       https://per    7/21/2020   Approved JDR 8        B3EPHEME(b)(3) EpheNo     R6   Riverine   A wetland, spring, stream, river, p   ‐107.775   36.26212   New MexicSan Juan     14080106   None
5232287   Corps   SPA‐2020‐0Albuquerq NWPR       https://per    7/21/2020   Approved JDR 6        B3EPHEME(b)(3) EpheNo     R6   Riverine   A wetland, spring, stream, river, p   ‐107.769   36.26743   New MexicSan Juan     14080106   None
5232287   Corps   SPA‐2020‐0Albuquerq NWPR       https://per    7/21/2020   Approved JDR 7        B3EPHEME(b)(3) EpheNo     R6   Riverine   A wetland, spring, stream, river, p   ‐107.772   36.26508   New MexicSan Juan     14080106   None
5232287   Corps   SPA‐2020‐0Albuquerq NWPR       https://per    7/21/2020   Approved JDR 5        B3EPHEME(b)(3) EpheNo     R6   Riverine   A wetland, spring, stream, river, p   ‐107.764   36.26926   New MexicSan Juan     14080106   None
5226462   Corps   SPA‐2020‐0Albuquerq 1986/88    https://per    5/14/2020   Approved JDry Land UPLAND Uplands No            U    Uplands    Upland ‐ Not a wetland or deepw        ‐106.68   35.14535   New MexicBernalillo   13020203   None
5223214   Corps   SPL‐2020‐0Los Angele 1986/88   https://per     4/2/2020   Approved JUpland (20UPLAND Uplands No           U    Uplands    Upland ‐ Not a wetland or deepw       ‐112.175   35.25364   Arizona Coconino      15010004   None
5200104   Corps   SPL‐2019‐0Los Angele 1986/88   https://per     7/2/2019   Approved Jupland      UPLAND Uplands No         U    Uplands    Upland ‐ Not a wetland or deepw       ‐110.625   34.43999   Arizona Navajo        15020010   None
5197444   Corps   SPA‐2019‐0Albuquerq 1986/88    https://per    5/14/2019   Approved JAbandonedUPLAND Uplands No            U    Uplands    Upland ‐ Not a wetland or deepw       ‐108.688   36.78812   New MexicSan Juan     14080105   None
5196911   Corps   SPA‐2019‐0Albuquerq 1986/88    https://per     5/6/2019   Approved JNone        UPLAND Uplands No         U    Uplands    Upland ‐ Not a wetland or deepw       ‐108.409   36.74421   New MexicSan Juan     14080105   None
5196335   Corps   SPA‐2019‐0Albuquerq 1986/88    https://per    4/30/2019   Approved JSPA2019‐1 UPLAND Uplands No           U    Uplands    Upland ‐ Not a wetland or deepw       ‐106.386   35.07684   New MexicBernalillo   13020203   None
5181913   Corps   SPA‐2018‐0Albuquerq 1986/88    https://per   10/12/2018   Approved JUnnamed TRPW        Relatively PYes   R4   Riverine   Intermittent, Riverine                ‐107.929   36.50291   New MexicSan Juan     14080101   Section 404
5170993   Corps   SPA‐2018‐0Albuquerq 1986/88    https://per    9/11/2018   Approved JSandia Wa ISOLATE Isolated (inNo      R6   Riverine   A wetland, Riverine Riverine is       ‐106.569   35.27035   New MexicSandoval     13020203   None
5173627   Corps   SPA‐2018‐0Albuquerq 1986/88    https://per    7/12/2018   Approved JSPA‐2018‐0ISOLATE Isolated (inNo      R6   Riverine   A wetland, Riverine Riverine is       ‐106.633   35.25085   New MexicSandoval     13020203   None
5172670   Corps   SPA‐2018‐0Albuquerq 1986/88    https://per     7/2/2018   Approved JSPA‐2018‐1UPLAND Uplands No           U    Uplands    Upland ‐ Not a wetland or deepw       ‐106.667   35.05794   New MexicBernalillo   13020203   None
5165734   Corps   SPA‐2018‐0Albuquerq 1986/88    https://per    4/16/2018   Approved JSPA‐2018‐1UPLAND Uplands No           U    Uplands    Upland ‐ Not a wetland or deepw       ‐107.457   35.03215   New MexicCibola       13020207   None
5143325   Corps   SPA‐2017‐0Albuquerq 1986/88    https://per    3/16/2018   Approved JSPA‐2017‐1NRPW      Non‐relativYes    R6   Riverine   A wetland, spring, stream, river, p   ‐106.631   35.01304   New MexicBernalillo   13020203   Section 404
5143325   Corps   SPA‐2017‐0Albuquerq 1986/88    https://per    3/16/2018   Approved JTijeras ArroNRPW    Non‐relativYes    R6   Riverine   A wetland, Riverine Riverine is       ‐106.626   35.01167   New MexicBernalillo   13020203   Section 404
5143325   Corps   SPA‐2017‐0Albuquerq 1986/88    https://per    3/16/2018   Approved JSPA‐2017‐1NRPW      Non‐relativYes    R6   Riverine   A wetland, spring, stream, river, p   ‐106.627   35.01189   New MexicBernalillo   13020203   Section 404
5162388   Corps   SPA‐2017‐0Albuquerq 1986/88    https://per    3/16/2018   Approved JSPA‐2017‐1ISOLATE Isolated (inNo      R6   Riverine   A wetland, spring, stream, river, p   ‐106.638   35.00947   New MexicBernalillo   13020203   None
5162388   Corps   SPA‐2017‐0Albuquerq 1986/88    https://per    3/16/2018   Approved JSPA‐2017‐1ISOLATE Isolated (inNo      R6   Riverine   A wetland, spring, stream, river, p   ‐106.634   35.00952   New MexicBernalillo   13020203   None
5162388   Corps   SPA‐2017‐0Albuquerq 1986/88    https://per    3/16/2018   Approved JSPA‐2017‐1ISOLATE Isolated (inNo      R6   Riverine   A wetland, spring, stream, river, p    ‐106.63   35.00442   New MexicBernalillo   13020203   None
5162388   Corps   SPA‐2017‐0Albuquerq 1986/88    https://per    3/16/2018   Approved JSPA‐2017‐1ISOLATE Isolated (inNo      R6   Riverine   A wetland, spring, stream, river, p   ‐106.626   35.01486   New MexicBernalillo   13020203   None
5162388   Corps   SPA‐2017‐0Albuquerq 1986/88    https://per    3/16/2018   Approved JSPA‐2017‐1ISOLATE Isolated (inNo      R6   Riverine   A wetland, spring, stream, river, p   ‐106.634   35.01192   New MexicBernalillo   13020203   None
5162388   Corps   SPA‐2017‐0Albuquerq 1986/88    https://per    3/16/2018   Approved JSPA‐2017‐1ISOLATE Isolated (inNo      R6   Riverine   A wetland, spring, stream, river, p   ‐106.629   35.01636   New MexicBernalillo   13020203   None
5162388   Corps   SPA‐2017‐0Albuquerq 1986/88    https://per    3/16/2018   Approved JSPA‐2017‐1ISOLATE Isolated (inNo      R6   Riverine   A wetland, spring, stream, river, p   ‐106.623   35.00602   New MexicBernalillo   13020203   None
5162388   Corps   SPA‐2017‐0Albuquerq 1986/88    https://per    3/16/2018   Approved JSPA‐2017‐1ISOLATE Isolated (inNo      R6   Riverine   A wetland, spring, stream, river, p    ‐106.63   35.01508   New MexicBernalillo   13020203   None
5162388   Corps   SPA‐2017‐0Albuquerq 1986/88    https://per    3/16/2018   Approved JSPA‐2017‐1ISOLATE Isolated (inNo      R6   Riverine   A wetland, spring, stream, river, p   ‐106.636    35.0104   New MexicBernalillo   13020203   None
5158403   Corps   SPA‐2018‐0Albuquerq 1986/88    https://per    1/23/2018   Approved JSPA‐2018‐0NRPW      Non‐relativYes    R6   Riverine   A wetland, Riverine Riverine is       ‐108.898   36.97032   New MexicSan Juan     14080107   Section 404San Juan Ri
5153563   Corps   SPA‐2017‐0Albuquerq 1986/88    https://per   11/27/2017   Approved JSPA‐2017‐1UPLAND Uplands No           U    Uplands    Upland ‐ Not a wetland or deepw        ‐106.53   35.35429   New MexicSandoval     13020203   None
5152862   Corps   SPA‐2017‐0Albuquerq 1986/88    https://per   10/30/2017   Approved JSPA‐2017‐0UPLAND Uplands No           U    Uplands    Upland ‐ Not a wetland or deepw       ‐108.674   36.74153   New MexicSan Juan     14080105   None       San Juan Ri
5149566   Corps   SPA‐2017‐0Albuquerq 1986/88    https://per   10/12/2017   Approved JSPA‐2017‐0UPLAND Uplands No           U    Uplands    Upland ‐ Not a wetland or deepw       ‐107.754   36.44413   New MexicSan Juan     14080103   None       Blanco Was
5145309   Corps   SPA‐2017‐0Albuquerq 1986/88    https://per     9/5/2017   Approved JSPA‐2017‐0UPLAND Uplands No           U    Uplands    Upland ‐ Not a wetland or deepw       ‐107.838   36.39134   New MexicSan Juan     14080101   None       Gallegos Ca
5136052   Corps   SPL‐2017‐0Los Angele 1986/88   https://per    6/14/2017   Approved JNed Lake ( UPLAND Uplands No          U    Uplands    Upland ‐ Not a wetland or deepw       ‐110.056   34.28835   Arizona Navajo        15020005   None
5136052   Corps   SPL‐2017‐0Los Angele 1986/88   https://per    6/14/2017   Approved JTelephone UPLAND Uplands No           U    Uplands    Upland ‐ Not a wetland or deepw       ‐110.045   34.29306   Arizona Navajo        15020005   None
5136052   Corps   SPL‐2017‐0Los Angele 1986/88   https://per    6/14/2017   Approved JPintail LakeUPLAND Uplands No         U    Uplands    Upland ‐ Not a wetland or deepw       ‐110.023   34.30139   Arizona Navajo        15020005   None
5133890   Corps   SPA‐2017‐0Albuquerq 1986/88    https://per    5/16/2017   Approved JUnnamed DISOLATE Isolated (inNo       R6   Riverine   A wetland, Riverine Riverine is       ‐106.552   35.26315   New MexicSandoval     13020203   None
5133890   Corps   SPA‐2017‐0Albuquerq 1986/88    https://per    5/16/2017   Approved JUnnamed DISOLATE Isolated (inNo       R6   Riverine   A wetland, Riverine Riverine is       ‐106.554   35.26242   New MexicSandoval     13020203   None
5133890   Corps   SPA‐2017‐0Albuquerq 1986/88    https://per    5/16/2017   Approved JUnnamed DISOLATE Isolated (inNo       R6   Riverine   A wetland, Riverine Riverine is       ‐106.551   35.26039   New MexicSandoval     13020203   None
5133890   Corps   SPA‐2017‐0Albuquerq 1986/88    https://per    5/16/2017   Approved JUnnamed DISOLATE Isolated (inNo       R6   Riverine   A wetland, Riverine Riverine is        ‐106.55   35.26193   New MexicSandoval     13020203   None
5118011   Corps   SPK‐2015‐0Sacrament 1986/88    https://per     3/2/2017   Approved JAR 11       NRPW    Non‐relativYes    R6   Riverine   A wetland, Riverine Riverine is       ‐109.605   38.42402   Utah     San Juan     14030005   Section 404
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5118011   Corps   SPK‐2015‐0Sacrament 1986/88    https://per     3/2/2017   Approved JAR 10      NRPW     Non‐relativYes    R6   Riverine     A wetland, Riverine Riverine is       ‐109.606   38.42558    Utah     San Juan     14030005   Section 404
5118011   Corps   SPK‐2015‐0Sacrament 1986/88    https://per     3/2/2017   Approved JAR 48      NRPW     Non‐relativYes    R6   Riverine     A wetland, Riverine Riverine is       ‐109.464   38.17645    Utah     San Juan     14030005   Section 404
5118011   Corps   SPK‐2015‐0Sacrament 1986/88    https://per     3/2/2017   Approved JAR 51      NRPW     Non‐relativYes    R6   Riverine     A wetland, Riverine Riverine is        ‐109.45   38.19062    Utah     San Juan     14030005   Section 404
5118011   Corps   SPK‐2015‐0Sacrament 1986/88    https://per     3/2/2017   Approved JAR 47      NRPW     Non‐relativYes    R6   Riverine     A wetland, Riverine Riverine is       ‐109.469   38.17609    Utah     San Juan     14030005   Section 404
5118011   Corps   SPK‐2015‐0Sacrament 1986/88    https://per     3/2/2017   Approved JAR 49      NRPW     Non‐relativYes    R6   Riverine     A wetland, Riverine Riverine is       ‐109.462   38.17848    Utah     San Juan     14030005   Section 404
5118011   Corps   SPK‐2015‐0Sacrament 1986/88    https://per     3/2/2017   Approved JAR 35      NRPW     Non‐relativYes    R6   Riverine     A wetland, Riverine Riverine is       ‐109.629    38.2453    Utah     San Juan     14030005   Section 404
5118011   Corps   SPK‐2015‐0Sacrament 1986/88    https://per     3/2/2017   Approved JAR 50      NRPW     Non‐relativYes    R6   Riverine     A wetland, Riverine Riverine is       ‐109.462   38.18104    Utah     San Juan     14030005   Section 404
5118011   Corps   SPK‐2015‐0Sacrament 1986/88    https://per     3/2/2017   Approved JAR 12      NRPW     Non‐relativYes    R6   Riverine     A wetland, Riverine Riverine is       ‐109.605   38.42337    Utah     San Juan     14030005   Section 404
5118011   Corps   SPK‐2015‐0Sacrament 1986/88    https://per     3/2/2017   Approved JAR 52      NRPW     Non‐relativYes    R6   Riverine     A wetland, Riverine Riverine is       ‐109.413   38.18693    Utah     San Juan     14030005   Section 404
5125336   Corps   SPL‐2017‐0Los Angele 1986/88   https://per     3/1/2017   Approved JLong ValleyUPLAND   Uplands No        U    Uplands      Upland ‐ Not a wetland or deepw       ‐111.338   34.53225    Arizona Coconino      15060203   None
5121344   Corps   SPA‐2016‐0Albuquerq 1986/88    https://per    1/24/2017   Approved JSPA‐2016‐0UPLAND    Uplands No        U    Uplands      Upland ‐ Not a wetland or deepw       ‐107.996   36.82608    New MexicSan Juan     14080104   None       Animas Riv
5119155   Corps   SPA‐2016‐0Albuquerq 1986/88    https://per   12/20/2016   Approved JSPA‐2016‐0ISOLATE   Isolated (inNo    R6   Riverine     A wetland, Riverine Riverine is       ‐108.786    35.5234    New MexicMcKinley     15020006   None       Puerco Rive
5107274   Corps   SPA‐2016‐0Albuquerq 1986/88    https://per    10/5/2016   Approved JSPA‐2016‐2ISOLATE   Isolated (inNo    R6   Riverine     A wetland, Riverine Riverine is       ‐106.479    35.3699    New MexicSandoval     13020201   None
5100451   Corps   SPA‐2016‐0Albuquerq 1986/88    https://per     8/2/2016   Approved JSPA‐2016‐0UPLAND    Uplands No        U    Uplands      Upland ‐ Not a wetland or deepw       ‐108.098     36.706    New MexicSan Juan     14080101   None       Animas Riv
5098701   Corps   SPA‐2016‐0Albuquerq 1986/88    https://per    7/20/2016   Approved JSPA‐2016‐0UPLAND    Uplands No        U    Uplands      Upland ‐ Not a wetland or deepw        ‐108.35       36.74   New MexicSan Juan     14080105   None       San Juan Ri
5108214   Corps   SPA‐2012‐0Albuquerq 1986/88    https://per    6/15/2016   Approved JSPA‐2012‐0RPW       Relatively PYes   R    Riverine     Riverine ‐ I Riverine Riverine is     ‐107.992       36.83   New MexicSan Juan     14080104   Section 404Animas Riv
5103566   Corps   SPA‐2005‐0Albuquerq 1986/88    https://per     6/8/2016   Approved JSPA‐2005‐4ISOLATE   Isolated (inNo    R6   Riverine     A wetland, Riverine Riverine is       ‐107.775    35.6481    New MexicMcKinley     13020205   None       Inditos Dra
5103566   Corps   SPA‐2005‐0Albuquerq 1986/88    https://per     6/8/2016   Approved JSPA‐2005‐4ISOLATE   Isolated (inNo    R6   Riverine     A wetland, Riverine Riverine is       ‐107.794    35.6418    New MexicMcKinley     13020205   None       Inditos Dra
5103566   Corps   SPA‐2005‐0Albuquerq 1986/88    https://per     6/8/2016   Approved JSPA‐2005‐4ISOLATE   Isolated (inNo    R6   Riverine     A wetland, Riverine Riverine is       ‐107.918    35.5875    New MexicMcKinley     13020205   None       Arroyo Chic
5103566   Corps   SPA‐2005‐0Albuquerq 1986/88    https://per     6/8/2016   Approved JSPA‐2005‐4ISOLATE   Isolated (inNo    R6   Riverine     A wetland, Riverine Riverine is       ‐107.929     35.672    New MexicMcKinley     14080106   None       Seven Lake
5091867   Corps   SPA‐2016‐0Albuquerq 1986/88    https://per     6/3/2016   Approved JSPA‐2016‐1UPLAND    Uplands No        U    Uplands      Upland ‐ Not a wetland or deepw        ‐106.75   35.27956    New MexicSandoval     13020203   None
5090769   Corps   SPA‐2016‐0Albuquerq 1986/88    https://per    5/26/2016   Approved JSPA‐2016‐0RPWWN     Wetlands AYes     P    Palustrine   Palustrine DepressionDepression       ‐108.219   36.72164    New MexicSan Juan     14080105   Section 404Animas Riv
5088400   Corps   SPL‐2016‐0Los Angele 1986/88   https://per     5/9/2016   Approved JFanning W NRPW      Non‐relativNo     R6   Riverine     A wetland, spring, stream, river, p     ‐111.6   35.22163    Arizona Coconino      15020015   None
5075536   Corps   SPA‐2016‐0Albuquerq 1986/88    https://per     4/7/2016   Approved JSPA‐2016‐5NRPW      Non‐relativNo     R6   Riverine     A wetland, spring, stream, river, p   ‐106.744   35.03272    New MexicBernalillo   13020203   None
5075536   Corps   SPA‐2016‐0Albuquerq 1986/88    https://per     4/7/2016   Approved JSPA‐2016‐5NRPW      Non‐relativNo     R6   Riverine     A wetland, spring, stream, river, p   ‐106.743   35.03011    New MexicBernalillo   13020203   None
5075536   Corps   SPA‐2016‐0Albuquerq 1986/88    https://per     4/7/2016   Approved JSPA‐2016‐5NRPW      Non‐relativNo     R6   Riverine     A wetland, spring, stream, river, p   ‐106.744   35.03123    New MexicBernalillo   13020203   None
5082946   Corps   SPA‐2016‐0Albuquerq 1986/88    https://per     4/1/2016   Approved JSPA‐2016‐0NRPW      Non‐relativYes    R4   Riverine     IntermittenRiverine Riverine is       ‐108.127   36.75534    New MexicSan Juan     14080104   Section 404Animas Riv
5080295   Corps   SPA‐2016‐0Albuquerq 1986/88    https://per    3/14/2016   Approved JSPA‐2016‐0RPW       Relatively PYes   R    Riverine     Riverine ‐ I Riverine Riverine is     ‐108.193   36.72574    New MexicSan Juan     14080104   Section 404Animas Riv
5079668   Corps   SPA‐2016‐0Albuquerq 1986/88    https://per     3/9/2016   Approved JSPA‐2016‐0NRPW      Non‐relativYes    R6   Riverine     A wetland, Riverine Riverine is       ‐107.972   36.84789    New MexicSan Juan     14080104   Section 404Unnamed T
5078968   Corps   SPA‐2015‐0Albuquerq 1986/88    https://per     3/3/2016   Approved JSPA‐2015‐3UPLAND    Uplands No        U    Uplands      Upland ‐ Not a wetland or deepw       ‐107.793   35.14474    New MexicCibola       13020207   None
5099018   Corps   SPA‐2012‐0Albuquerq 1986/88    https://per    1/21/2016   Approved JSPA‐2012‐0NRPW      Non‐relativYes    R6   Riverine     A wetland, spring, stream, river, p   ‐106.523    35.0474    New MexicBernalillo   13020203   Section 404Tijeras Arro
5099012   Corps   SPA‐2012‐0Albuquerq 1986/88    https://per    1/21/2016   Approved JSPA‐2012‐0NRPW      Non‐relativNo     R6   Riverine     A wetland, spring, stream, river, p   ‐106.523    35.0446    New MexicBernalillo   13020203   None       Unnamed T
5072279   Corps   SPA‐2016‐0Albuquerq 1986/88    https://per    1/14/2016   Approved JSPA‐2016‐0UPLAND    Uplands No        U    Uplands      Upland ‐ Not a wetland or deepw       ‐106.729   35.25466    New MexicSandoval     13020203   None
5063440   Corps   SPA‐2015‐0Albuquerq 1986/88    https://per    11/5/2015   Approved JSPA‐2015‐0RPWWD     Wetlands DYes     R2   Riverine     Lower PereRiverine Riverine is        ‐108.132   36.60137    New MexicSan Juan     14080101   Section 404Gallegos W
5063413   Corps   SPA‐2015‐0Albuquerq 1986/88    https://per    11/5/2015   Approved JUplands UPLAND      Uplands No        U    Uplands      Upland ‐ Not a wetland or deepw       ‐107.762   36.73645    New MexicSan Juan     14080101   None       Uplands
5057756   Corps   SPA‐2015‐0Albuquerq 1986/88    https://per    10/1/2015   Approved JNone       UPLAND   Uplands No        U    Uplands      Upland ‐ Not a wetland or deepw       ‐108.651   35.53898    New MexicMcKinley     15020006   None       None
5053599   Corps   SPA‐2015‐0Albuquerq 1986/88    https://per     9/9/2015   Approved JSPA‐2015‐3UPLAND    Uplands No        U    Uplands      Upland ‐ Not a wetland or deepw       ‐106.449   35.39952    New MexicSandoval     13020201   None
